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                          UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF KENTUCKY
                         CENTRAL DIVISION at LEXINGTON


CIVIL ACTION NO. 08-495-KSF

MW UNIVERSAL, INC.                                                                  PLAINTIFF


v.                                     JUDGMENT


G5 CAPITAL PARTNERS, LLC                                                           DEFENDANT

                                        *******

     In accordance with the opinion and order entered contemporaneously with this judgment, the

Court HEREBY ORDERS AND ADJUDGES that:

     (1)    summary judgment is entered in favor of Plaintiff on all its claims;

     (2)    Defendant is liable to Plaintiff in the amount of $6,900,000.00;

     (3)    this judgment is final and appealable and no just cause for delay exists;

     (4)    this matter is STRICKEN from the active docket; and

     (5)    The Clerk of Court shall serve this Judgment upon Defendant, by certified mail,
            return receipt requested, at the following addresses:

            G5 Capital Partners, LLC
            641 Lexington Avenue
            New York, NY 10022

            G5 Capital Partners, LLC
            c/o John Grambling, Jr.
            P.O. Box 701
            New York, NY 10150-0701

            John Grambling, Jr.
            273 Chestnut Hill Rd.
            Stone Ridge, NY 12484



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    This February 21, 2012.




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